           Case 3:20-cv-01866-IM        Document 100       Filed 03/29/21    Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON



 GREAT NORTHERN RESOURCES,                            Case No. 20-cv-1866 (Lead Case)
 INC., DYNAMIC SERVICE FIRE AND
 SECURITY, LLC, and WALTER VAN                        ORDER DENYING MOTION TO
 LEJA, on behalf of themselves and others             INTERVENE
 similarly situated,

                  Plaintiffs,

           v.

 KATY COBA, in her official capacity as
 State Chief Operating Officer and Director
 of ODAS, OREGON DEPARTMENT OF
 ADMINISTRATIVE SERVICES, THE
 CONTINGENT, BLACK UNITED FUND
 OF OREGON, INC., and DOES 1-10,

                  Defendants.


IMMERGUT, District Judge.

          Before the Court is pro se litigant Benjamin Barber’s Motion to Intervene pursuant to

Fed. R. Civ. P. 24(a)(1). ECF 92. Because Mr. Barber’s motion suffers from several defects, it is

denied.

PAGE 1 – ORDER
          Case 3:20-cv-01866-IM          Document 100         Filed 03/29/21       Page 2 of 3




        First, although Mr. Barber purports to bring the motion under Fed. R. Civ. P. 24(a)(1),

that rule governs only intervention by potential parties who have an “an unconditional right to

intervene” under a federal statute. Mr. Barber has not identified any federal statute granting him that

right and therefore he will not be permitted to intervene on that basis.

        Second, even construing Mr. Barber’s motion under Fed. R. Civ. P. 24(a)(2), Mr. Barber’s

motion fails. In the Ninth Circuit, an applicant seeking intervention “as of right” under Fed. R. Civ.

P. 24(a)(2) must demonstrate that four requirements are met: (1) the application for intervention must

be timely; (2) the applicant must have a “significant protectable” interest relating to the property or

transaction that is the subject of the action; (3) the applicant must be so situated that disposition of

the action may, as a practical matter, impair or impede the applicant’s ability to protect that interest;

and (4) the applicant’s interest must be inadequately represented by the existing parties in the

lawsuit. Citizens for Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893, 897 (9th Cir. 2011).

        Mr. Barber has failed to demonstrate that all four requirements for intervention under Fed. R.

Civ. P. 24(a)(2) have been met. First, the Court finds Mr. Barber’s motion, made after extensive

motions practice and lengthy settlement negotiations by the parties, is untimely. See United States v.

Alisal Water Corp., 370 F.3d 915, 921 (9th Cir. 2004) (noting the factors courts weigh in determining

whether a motion to intervene is timely). Further, and perhaps most importantly, Mr. Barber has

failed to demonstrate that intervention is necessary to protect his legally protected interests. Mr.

Barber is a Fund applicant and therefore a member of the proposed Settlement Class. See ECF 85-2

at 6–7; ECF 94 at 2. He seeks to intervene “with the proposed settlement” and raises objections to the

Class Settlement’s terms in his motion. ECF 92 at 1–2. These concerns may be raised and considered

by this Court in due course through the objections process set forth in the Settlement Agreement that

this Court has already preliminarily approved. ECF 85-2 at 11–12; ECF 94 at 6–7. In addition, if Mr.

Barber does not want to be bound by the terms of the settlement, he will be given an opportunity to


PAGE 2 – ORDER
         Case 3:20-cv-01866-IM           Document 100         Filed 03/29/21      Page 3 of 3




opt out and pursue his own claims separately. See ECF 85-2 at 11; ECF 94 at 5–6. In sum,

intervention is not necessary to protect Mr. Barber’s interests, and there are other alternatives open to

him which would be less disruptive to the proceedings and to the interests of the settling parties.

        Similarly, this Court, in its discretion, finds that permissive intervention under Fed. R. Civ. P.

24(b) would also be improper. See Southern Calif. Edison Co. v. Lynch, 307 F.3d 794, 803 (9th Cir.

2002) (noting even if the threshold requirements for permissive intervention are met, a court has

discretion to deny permissive intervention). Intervention at this stage would prejudice the parties and

unnecessarily delay the potential resolution of this case. See Fed. R. Civ. P. 24(b)(3).

        Finally, although Mr. Barber attempts to bring this motion on behalf of other family

members as well, a pro se litigant cannot represent the rights of other individual parties. See

Simon v. Hartford Life, Inc., 546 F.3d 661, 664–65 (9th Cir. 2008) (holding a pro se plaintiff

may not pursue claims in a representative capacity on behalf of others); C.E. Pope Equity Tr. v.

United States, 818 F.2d 696, 697 (9th Cir. 1987) (holding a non-attorney “has no authority to

appear as an attorney for others than himself”). Therefore, Mr. Barber’s attempt to assert the

claims of others will not be considered by this Court.

        Accordingly, Mr. Barber’s Motion to Intervene, ECF 92, is DENIED.

        IT IS SO ORDERED.

        DATED this 29th day of March, 2021.


                                                         /s/ Karin J. Immergut
                                                         Karin J. Immergut
                                                         United States District Judge




PAGE 3 – ORDER
